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IN THE COURT OF COMMON PLEAS, FRANKLIN COUNTY, OHIO

CAMERYN STANDIFER
660 Sunbury Meadows Drive
Sunbury OH 43074

Plaintiff,
Vv.

CITY OF COLUMBUS

c/o Columbus City Attorney's Office
77 North Front Street

Columbus, Ohio 43215

and

BRANDON HARMON
c/o Division of Police
120 Marconi Boulevard
Columbus, Ohio 43215

and

TRAVIS TURNER

c/o Division of Police
120 Marconi Boulevard
Columbus, Ohio 43215

and

HOLLY KANODE

clo Division of Police
120 Marconi Boulevard
Columbus, Ohio 43215

and

JOHN DOE POLICE OFFICERS
NAMES UNKNOWN
Addresses Unknown

and
JOHN DOE POLICE SUPERVISORS

NAMES UNKNOWN
Addresses Unknown

Civil Division

COMPLAINT

Case No.

JURY DEMAND ENDORSED HEREON
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and

FRANKLIN COUNTY

c/o Franklin County Commissioners
373 S. High Street, 26" Floor
Columbus, Ohio 43215

and

JANE DOE JAIL NURSE
NAME UNKNOWN
Address Unknown

and

JOHN DOE JAIL SUPERVISORS
NAMES UNKNOWN
Address Unknown

and
JOHN DOE JAIL OFFICERS
NAMES UNKNOWN
Address Unknown

Defendants.

 

Factual Background — Parties and Events

1. Cameryn Standifer, age twenty-three, is unmarried and currently resides
in the City of Sunbury, County of Delaware, and State of Ohio. At the time of the
incident described hereinbelow Plaintiff was a resident of the City of Columbus, Franklin
County, Ohio; Defendants Harmon, Travis and Kanode are Columbus City Police
Officers; Defendants John Doe Police Supervisors, John Doe Officers, Jane Doe Jail
Nurse, John Doe Jail Supervisors and John Doe Jail Officers, respectively, are
employees of the City of Columbus and Franklin County whose names and addresses
are unknown at the time of filing and whose names and addresses could not be
discovered with reasonable efforts at the time of filing.

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2. On May 17, 2018, Mr. Standifer was involved in a vehicle collision in
which he suffered extensive and severe injuries, including but not limited to severe
head trauma, traumatic brain injury, severed arteries at the base of his skull and
significant injuries to his left lower leg; Mr. Standifer narrowly avoided the amputation of
his lower left leg and continues to suffer tremendous discomfort, pain, disability,
headaches, confusion, and brain trauma as a result of the injuries sustained in the May
2018 motor vehicle caltision.

3. Doctors saved Mr. Standifer’s lower left leg by taking the muscle and skin
from his calf and wrapping it around his shin, causing him to have a painful and
disfiguring wound on his left lower leg and causing the skin across his left knee and
shin to be incredibly fragile.

4. Mr. Standifer [hereinafter referred to as “Plaintiff’] was hospitalized until
early June 2018 after the motor vehicle collision and continued thereafter to have
frequent follow-up appointments for medical care related to his injuries.

5. On the evening of August 1, 2018, Plaintiff was at his home on Stornoway
Drive South, Columbus, Ohio, when Columbus police officers arrived at the door.

6. Plaintiff had just begun putting weight on his injured leg and was
convalescing at home at the time.

7. Officers entered Plaintiff's residence on August 1. 2018, and collected the
identifications of all persons at the home.

8. Officers became aware at that time that Plaintiff had an outstanding
warrant for an unpaid traffic ticket; Plaintiff had been unable to pay the traffic ticket

because of his lengthy hospitalization as a result of the May 2018 collision.
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9. Defendant Brandon Harmon is one of the officers who entered the
property, Defendant Harmon asked Plaintiff to stand up and put his hands behind his
back so that he could arrest him on the warrant for the unpaid traffic ticket.

10. Plaintiff complied fully and cooperatively the first time he was asked to
Stand and put his arms behind his back; Plaintiff and other civilians present at the scene
did tell Officer Harmon that Plaintiff was moving slowly because he was still recovering
from a traumatic collision.

11. Plaintiff stood up and put his arms behind his back as Officer Harmon
asked; Officer Harmon then inexplicably and forcibly wrenched Plaintiff's arms upward
and threw Plaintiff to the ground causing him to fal! violently to the floor; Plaintiff's head,
arms and legs slammed into the floor as a result of Officer Harmon throwing him to the
ground.

12. Plaintiff's arms hit the ground hard underneath him; the side of his head
Struck the ground and he struck his left knee; the skin on Plaintiff's left lower leg was so
fragile and still in the process of healing that Defendant Harmon’s body slam caused
the wound on Plaintiff's leg to re-open.

13. Plaintiff also hit his right arm so hard when Defendant Harmon slammed
him that he sustained an open wound in the elbow area of his right arm.

14. Plaintiff was transported by medic to Mt. Carmel East for an assessment:
Plaintiff begged the staff at Mt. Carmel to cover the wound on his knee with an Ace
bandage.

15. Plaintiff left Mt. Carmel with an Ace bandage covering his left knee.
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16. — Plaintiff then sat in the back of Defendant Harmon's police cruiser for
approximately an hour, cuffed and cramped, with his leg bleeding; he was then
transported to the Franklin County jail.

17. Upon arrival at the jail, Plaintiff could not put weight on his leg; he was
booked and incarcerated on charges related to the unpaid traffic ticket and alleged
resisting arrest.

18. A nurse at the jail [hereinafter Defendant Nurse —~ name and address
unknown at the time of filing] assessed Plaintiff's condition and removed the Ace
bandage from his leg despite Plaintiff's pleas with her that the wound be covered:
Plaintiff advised Jane Doe nurse that he was in a weakened condition because of a car
accident and that he was gravely concerned about his wounds.

19. Plaintiff then asked Defendant Nurse at least six to seven times if he
could please have bandages to cover his leg and elbow so that the filth and urine in the
jail cell did not cause an infection; Defendant Nurse refused each time.

20. ‘Plaintiff asked all of the passing officers [hereinafter Defendant Jail
Officers] at the jail if someone could please look at his leg and elbow again and cover
them with a bandage; given his fragile medical condition and the fact that Plaintiff
observed the jail cell to be filthy, he was extremely concerned that his open wounds
would become infected.

21. Plaintiff never received a bandage, a wound covering, or any follow-up
care of any kind during his incarceration; Defendant Jail Officers and Jane Doe Nurse
refused to attend to his wound.

22. _‘ Plaintiff was released in the early morning hours of August 2, 2019.
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23. During his incarceration, Plaintiff's mother contacted both the jail and the
court to explain that her son had an extremely fragile medical condition and alert them
that he needed prompt and aggressive wound care to avoid infection; Plaintiff's mother
was unable to secure medical care for her son during his incarceration.

24. ‘Plaintiff returned to Mt. Carmel East on August 5, 2018, complaining of
left knee pain, right arm pain and headaches.

25. On August 6, 2018, Plaintiff went to the Emergency Room at Grant Medial
Center complaining of swelling and right arm pain after being thrown to the ground on
or around the evening of August 1, 2018, or morning of August 2, 2018, by Officer
Harmon.

26. Doctors at Grant diagnosed Plaintiff with thrombophlebitis.

27. Plaintiff returned to Grant Medical Center on August 8, 2018, with
worsening right arm pain and swelling.

28. Doctors admitted Plaintiff for evaluation relative to his right arm
concerning compartment syndrome, severe vascular congestion associated with
venous thrombosis in the right upper extremity.

29. Doctors at Grant then diagnosed Plaintiff with septic right olecranon
bursitis; blood cultures performed that day showed that Plaintiff was suffering from a
MRSA infection.

30. Plaintiff then was hospitalized at Grant for almost a month, undergoing
multiple procedures to drain the swelling from his elbow, multiple procedures to irrigate,
excise and debride the infected hematoma, and additional procedures, including skin
grafts, to reconstruct the wounds; Plaintiff now has disfiguring scars on both of his arms

as a result of these procedures.
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31. Healthcare providers discharged Plaintiff from Grant on September 5,
2018; he continued to receive home health care.

32. Defendant City of Columbus charged Plaintiff with resisting arrest as a
result of his interactions with Defendant Harmon.

33. Defendant City of Columbus dismissed the charges of resisting arrest
against Plaintiff on December 23, 2018.

First Cause of Action -Assault and Battery — as to Defendant Harmon

34. Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 33 above.

35. Defendant Harmon intended to cause harmful and offensive contact to
Plaintiff because he wrenched his arms up into an unnatural position and threw him to
the ground with extreme force.

36. Defendant Harmon did, in fact, cause harmful and offensive touching to
Plaintiff by wrenching his arms behind his back and slamming him to the ground.

37. Defendant Harmon acted with a malicious purpose, in bad faith, or in a
wanton and reckless manner.

38. As a direct and proximate result of Defendant Harmon’s harmful and
offensive touching of Plaintiff, Plaintiff suffered physical injuries, including bruises and
contusions, open wounds that caused him to contract a MRSA infection and undergo
several painful medical procedures, severe trauma to his head and brain, permanent
physical scarring, medical bills and expenses, lost income, and past, and future mental!
suffering, anxiety, emotional trauma, mental anguish, stress, loss of enjoyment and
reduction in quality of life.

Second Cause of Action — State Law Malicious Prosecution — as to All City

Defendants, including City of Columbus, Officers Harmon, Turner and Kanode,
and unknown City of Columbus Police Officers and Supervisors

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39, Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 38 above.

40. Defendants maliciously instituted proceedings against Plaintiff by filing
false charges against him for resisting arrest, knowing they had no probable cause to
believe Plaintiff had resisted arrest.

41. Defendants lacked probable cause for filing the aforementioned charges
against Plaintiff because Plaintiff did not resist Defendant Harmon's attempt to arrest
him on an outstanding warrant for a traffic ticket and no reasonable officer under the
circumstances could have reasonably believed that Plaintiff was resisting arrest.

42. Defendants further perpetrated malicious prosecution by supporting these
false charges against Plaintiff with knowingly false statements to prosecuting attorneys.

43. The proceedings against Plaintiff were terminated in Plaintiff's favor when
the charges for resisting arrest were dismissed.

44. Plaintiff's person was the subject of seizure during the course of these
proceedings because Plaintiff was incarcerated first in a police vehicle and then in a
holding cell.

45. As a direct and proximate result of this malicious prosecution, plaintiff
incurred the costs of hiring an attorney to defend himself against baseless charges and
sustained the public embarrassment and humiliation of the criminal proceedings and
process and having a criminal record applied to his good name and character.

Third Cause of Action — State Law Wrongful imprisonment Claim — as to
Defendants City of Columbus, Defendant Harmon, Defendant Turner and
unknown City Officers and Supervisors

46. Plaintiff incorporates, as if fully rewritten herein, each of the allegations

contained in paragraphs 1 through 45 above

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47. Defendants did not have probable cause to believe Plaintiff had resisted
arrest; Defendants nonetheless took steps to imprison Plaintiff unlawfully, maliciously,
and without probable cause when they handcuffed him, forced him into a police cruiser
for several hours, and caused him to be confined in a cell for a period of approximately
eight hours.

48. Defendants’ actions constitute malicious prosecution and wrongful
imprisonment and were the direct and proximate cause of physical and psychological
injuries and economic damages to the Plaintiff.

Fourth Cause of Action — 42 U.S.C. 1983 - Excessive Force — Violation of 4
Amendment as Against Officer Harmon

49. Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 48 above.

50. Defendant Harmon, acting under color of state law, arrested Plaintiff with
unnecessary, unlawful and malicious use of excessive force, thereby depriving him of
his constitutional rights, when he wrenched his arms behind his back and slammed him
to the ground causing him to suffer severe bodily injury.

51. Defendant Harmon’s actions constitute wrongful arrest and were the direct
and proximate cause of physical and psychological injuries and economic damages to
Plaintiff.

Fifth Cause of Action — 42 U.S.C. 1983 — Fourth Amendment - Malicious
Prosecution as to Defendants Harmon, Turner and Kanode and Unknown City
Officers and Supervisors

52. ‘Plaintiff incorporates, as if fully rewritten herein, each of the allegations

contained in paragraphs 1 through 51 above.
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53. Defendants, acting under color of state law, maliciously instituted
proceedings against Plaintiff by filing false charges against him for resisting arrest,
knowing they nad no probabie cause to believe Plaintiff had resisted arrest.

54. Defendants lacked probable cause for filing the aforementioned charges
against Plaintiff because Plaintiff did not resist Defendant Harmon's attempt to arrest
him on an outstanding warrant for a traffic ticket.

25. Defendants further perpetrated malicious prosecution by supporting these
false charges against Plaintiff with knowingly false statements to the prosecuting
attorneys.

56. The proceedings against Plaintiff were terminated in Plaintiff's favor when
the charges resisting arrest were dismissed.

57. Defendants Police Officers' actions constitute malicious prosecution and
were the direct and proximate cause of physical and psychological injuries and
economic damages to the Plaintiff.

Sixth Cause of Action - 42 U.S.C 1983 — Fourth Amendment -False Imprisonment
as to Defendant Harmon, Defendant Turner and Unknown City Police Officers and
Supervisors

58. Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 57 above.

59. Defendants did not have probable cause to believe Plaintiff has resisted
arrest.

60. Defendants, acting under color of state law, nonetheless imprisoned
Plaintiff unlawfully, maliciously, and without probable cause when they handcuffed him,

forced him into a police cruiser, and caused him to be confined in a cell for a period of

approximately eight hours.
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61 Defendants’ actions constitute malicious prosecution and wrongful
imprisonment and were the direct and proximate cause of physical and psychological
injuries and economic damages ito the Plaintiff.

Seventh Cause of Action —42 U.S.C 1983 - Fourth and Fourteenth Amendment -
Failure to Train and Supervise -— as to City of Columbus and John Doe Police
Supervisors

62. Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 61 above.

63. Defendants City of Columbus and John Doe Police Supervisors, whose
names are unknown and whose names could not be discovered with reasonable efforts
at the time of filing, were responsible for training the Defendant Police Officers in proper
police procedures, arrest methods, appropriate levels of force, concepts of probable
Cause and proper procedures for communicating and interacting with the public.

64. Defendants negligently, wantonly, and with reckless disregard for the
safety of others, failed to properly train and supervise officers, including Defendants
Harmon, Turner and Kanode and unknown police officers involved in the arrest and
prosecution of Piaintiff.

65. Defendants’ negligent, wanton and reckless failure to properly train
caused serious harm to Plaintiff when their subordinates, namely Defendant Police
Officers, including Harmon, Turner and Kanode, used excessive force and caused
Plaintiff to be prosecuted without probable case.

66. Further, Defendants’ training program in arrest techniques and probable
cause is so inadequate that its implementation amounts to deliberate indifference.

67. Defendants, acting under color of state law, exhibited deliberate

indifference to the Plaintiffs right to be free of unreasonable and unlawful arrest,

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incarceration and prosecution pursuant to the Fourth Amendment and his substantive
due process rights under the Fourteenth Amendment, because their failure to train and
properly supervise their subordinates proximately caused an arrest conducted with
excessive force, causing Plaintiff significant and severe physical and emotional pain
and injury.

68. This lack of policy and procedure amounts to deliberate indifference as
Defendants knew or should have known that their failure to train and supervise would
result in constitutional violations and/or were on notice of prior constitutional violations
caused by the lack of training in arrest techniques and understanding probabie cause.

69. The lack of policy and procedure regarding proper arrest technique and
understanding probable cause and/or the failure to properly train officers in such
concepts is the direct and proximate cause of Plaintiffs’ claimed injuries and damages.

70. ~~ Additionally, Defendant supervisors were aware of Defendant Harmon's
and the other officers’ propensity to act outside the bounds of their constitutional
authority as noted above and did nothing and are therefore liable in their individual
capacities for violating Plaintiff's clearly-established constitutional rights.

71. Defendants at the very least implicitly authorized, approved of or
knowingly acquiesced in their subordinates’ violations of Plaintiff's constitutional rights
and are therefore liable in their individual capacities.

Eighth Cause of Action - Intentional Infliction of Emotional Distress — as to All
Defendants

72, Plaintiff incorporates, as if fully rewritten herein, each of the allegations

contained in paragraphs 1 through 71 above.

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73. Defendants engaged in an intentional and malicious course of conduct,
including the use of excessive force, false imprisonment, assault, battery, malicious
prosecution and denial of medical care against Plaintiff.

74. In engaging in this conduct, Defendants either intended to cause
emotional distress to Plaintiff or knew or should have known that their actions would
result in serious emotional distress to the Plaintiff.

75, Defendants’ conduct was so extreme and outrageous as to exceed alt
possible bounds of decency.

76. Defendants’ conduct proximately caused Plaintiff to sustain severe
emotional distress and psychological injuries.

77. Plaintiff's injuries are such that no reasonable person could be expected
to endure them.

Ninth Cause of Action — Denial of Medical Care ~ 42 U.S. C 1923 — 8 Amendment
— Jane Doe Jail Nurse and Defendants Unknown Jail Officers

78. ‘Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 77 above.
79. Defendants Jane Doe Nurse and Unknown Jail officers, acting under color

of state law, knowingiy refused reasonable medical care to Plaintiff during his

incarceration.

80. Defendants’ active refusal of medical care resulted in Plaintiff sitting in a
filthy jail cell with no way to cover and protect his fragile wounds.

81. Plaintiff contracted MRSA as a result and underwent painful surgical
procedures and skin grafts and was hospitalized for weeks, as described hereinabove,

while he fought the infection.

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82. Defendants’ conduct demonstrated deliberate indifference to Plaintiff's
serious medical needs; Defendants are therefore liable to Plaintiff for damages.

Tenth Cause of Action — Denial of Medical Care — 42 U.S. C 1983 — 8 Amendment
— as to Defendant Franklin County and John Doe Jail Supervisors

83. Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 82 above.

84. Defendants Franklin County and unknown county supervisors whose
names are unknown and whose names could not be discovered [hereinafter collectively
referred to as "Defendants John Doe Supervisors] were responsible for training
employee Defendant Nurse and Jail Officers in proper procedures for the care of
treatment of wounded individuals incarcerated in the county jail.

85. Defendants negligently, wantonly, and with reckless disregard for the
safety of others, failed to properly train and supervise these employees.

86. Defendants’ negligent, wanton or reckless failure to properly train caused
serious harm to Plaintiff when their subordinates/employees denied Plaintiff reasonable
medical care for his wounds.

87. Defendants, acting under color of state law, exhibited deliberate
indifference to the Plaintiff's right to be free of cruel and unusual punishment pursuant
to the Eighth Amendment and his substantive due process rights under the Fourteenth
Amendment, because their failure to train and properly supervise their subordinates
proximately caused Plaintiff to be deprived of medical care that would have prevented
the subsequent MRSA infection.

88. Defendants’ actions are a result of county policies and procedures that

failed to implement instruction for employees on proper wound care and the prevention

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of infection; in the alternative, Defendants have no policy at all for proper wound care
and infection prevention.

89. The lack of policy and procedure, or the lack of adequate policy and
procedure, regarding proper wound care and infection prevention is the direct and
proximate cause of Plaintiffs’ claimed injuries and damages.

90. Plaintiff contracted MRSA as a result and underwent painful surgical
procedures and skin grafts and was hospitalized for weeks, as described hereinabove,
while he fought the infection.

91. Defendants’ conduct in failing to adequately train and monitor their
employees and failing to implement adequate policies and procedures demonstrated
deliberate indifference to Plaintiff's serious medical needs; Defendants are therefore
liable to Plaintiff for damages.

Eleventh Cause of Action — State Law Claims for the Denial of Medical Care as to
Defendants Franklin County, Unknown Jail Nurse and Unknown Jail Officers and
Supervisors

92. Plaintiff incorporates, as if fully rewritten herein, each of the allegations
contained in paragraphs 1 through 91 above.

93. Plaintiff contracted MRSA as a result of Defendants’ knowing failure to
provide him with reasonable medical care and underwent painful surgical procedures
and skin grafts and was hospitalized for weeks, as described hereinabove, while he
fought the infection.

94. Defendants acted with malicious purpose, in bad faith or in a wanton or
reckless manner, with respect to Plaintiff's safety and need for medical care:

Defendants are therefore liable to Plaintiff for damages.

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WHEREFORE, Plaintiff demands judgment against each of the respective
Defendanis, jointly and severally, including Defendant City of Columbus, Defendant
Harmon, Defendant Turner, Defendant Kanode, John Doe Supervisors, John Doe
Police Officers, Defendant Franklin County, Unknown Jail Officers and Defendant Jane
Doe Nurse for compensatory damages in a sum in excess of Twenty Five Thousand
Dollars ($25,000.00) in order to be fully, fairly and completely compensated for the
damages and injuries caused by Defendants’ tortious conduct, for the cost of this
action, attorneys’ fees, for prejudgment and post-judgment interest according to law,
punitive damages and for such further relief as this court deems appropriate and proper

under the circumstances.

Dated: July 31, 2019 /s/ Jessica L. Olsheski
Jessica L. Olsheski, Esq. (0078063)
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